
*439OPINION.
Seawell:
The question presented is entirely one of fact, namely, the March 1, 1913, value of certain property which was acquired in 1911 and sold in 1922. The Commissioner and the petitioner fixed values of $600 and $850 per acre, respectively. Evidence was offered as to sales of property in this locality; witnesses familiar with this property and well qualified to express an opinion as to the value in question testified as to their opinion of the value on March 1, 1913; evidence as to an offer made for the property in the latter part of 1912 or early part of 1913 was submitted; and much testimony was given as to the relative values of various properties in this locality, taking into consideration the location, soil, water, and other conditions which would affect values. Some of the values fixed for this particular property were much in excess of that found by us, one being as high as $1,500 per acre, and others were less than that found by the Commissioner. However, when all factors are taken into consideration, including the competency of the witnesses *440and their ability to testify as to value in question, we are of the opinion that the value heretofore found is reasonable and well supported by the record before us.

Judgment will be entered under Bule SO.

